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                                      UN ITED STATES D ISTRICT COU RT
                                      SOU THERN D ISTRICT O F FLO RID A
                                              M IAM ID IVISION

                                             CaseN o.:l8-cv-20119-K1NG

   AND REEA SFARK AS,

                    Plaintiff,



   CG RYC,LLC,CG M IAM IRIVER LLC,
   FOOD AND LEVEM G E,LLC,
   STEPHANE DU POU X,and
   M EYER CH ETRIT,

                  Defendants.
                                                                   /

                         O RDER O N UNO PPO SED M O TIO N TO W ITH DM W
                               AS COUNSEL OF RECORD FO R PLAINTIFF
          TH IS CA USE cam e before the Courtupon the Law Firm Zarco,Einhorn,Salkow ski &

   Brito,PA 'sM otion to W ithdraw asCounselofRecord forPlaintiff.A ftercarefulconsideration, it(

   isORDERED AN D ADJUD GED that:

                    The M otion is GRAN TED.The Law Firm ofZarco,Einhorn,Salkow ski& Brito,

   P,A .,RobertZarco,Esq., M argaret Lai,Esq.,and Beshoy Rizk,Esq. are hereby penmitted to

   withdraw asattorneys forPlaintiff and shallhave no furtherobligations orresponsibilities in this '

   m atter.

                    Defendantsshallservea11fum refiling and Courtorderson Plaintiffatthefollow ing

   address:1508Bay Road,apt1149,M iamiBeach,FL 33139,

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                                          UN l E'        D STATES D ISTRICT JUD '

   cc: AllCounselofRecord
